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WESTERN DIVISION _
THOWS M. GOULD
) ~ ~,_ :_; :
THE CLARK CONSTRUCTION GROUP, INC., ) ' ` `
)
Plaimiff, )
)
v. ) No. 01-2478 DV
)
EAGLE AMALGAMATED SERVICE, INC.; )
CAPITOL INDEMNITY CORPORATION; )
INVESTORS INSURANCE COMPANY OF )
AMERICA; FIRST SPECIALTY INSURANCE; )
LEXINGTON INSURANCE COMPANY; and )
RLI INSURANCE COMPANY, )
)
Defendants. )
)

 

ORDER DENYING DEFENDANT INVESTORS INSURANCE COMPANY’S
MOTION FOR SUMMARY JUDGMENT

 

This matter is before the Court on the motion of Defendant Investors Insurance Company
(“Defendant” or “Investors”) for summary judgment as to Investors’ duty to indemnify Plaintiff
Clark Construction Group, LLC, successor in interest to Clark Construction Group, Inc. (“Plaintiff”).
For the reasons stated herein, Defendant’s motion is DENIED.

I. FACTUAL BACKGROUND

In February, 1999, Plaintiff entered into a written contract with the City ofMemphis (“City”)
and the Memphis Cook Convention Commission (collectively “the owners”) for the renovation,
expansion, and construction of the Mernphis Cook Convention Center in Memphis, Tennessee (the
“projcct”). The project included demolition of the Concourse Hall, a structure attached to the

existing convention center.

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On or about February 16, 1999, Plaintiff and Eagle Amalgamated Service, Incorporated
(“Eagle”), entered into a written subcontract (“subcontract”). Under the terms of the subcontract,
Eagle agreed to undertake demolition of thc Concourse Hall, as well as other selective demolition
and asbestos abatement work at the project site. Eagle was required to purchase insurance and to
defend and indemnify Plaintiff against all claims, expenses, damages, and losses arising out of or
in connection with the Work ofEagle or any of its subcontractors Eagle purchased a comprehensive
general liability (“CGL”) policy from Defendant and an excess policy from RLI lnsurance Company
(“RLI”). The Investors policy provided primary insurance up to a limit of$l million per occurrence
The RLI policy provided excess coverage of up to 39 million if the Investors policy is exhausted

Eagle retained Engineered Demolition, lnc. (“Engineered”) to assist with demolition ofthe
Concourse Hall. Engineered was also required to purchase insurance1 with Plaintiff as an additional
insured on all policies. Engineered purchased the required coverage from Lexington lnsurance
Company (“Lexington”) for primary coverage, and First Specialty lnsurance (“First Specialty”) for
excess coverage With its agents and subcontractors, Eagle performed all of the preparatory work
associated with the implosion of the Concourse Hall.

On October 10, 1999, Eagle and Engineered performed the scheduled implosion of the
Concourse Hall. This action damaged the adjacent Convention Center. Engineered employees
subsequently left the project site without participating in the complex clean-up efforts necessitated
by the unexpected results of their demolition work. Several months later, Eagle also abandoned the
project prior to fulfilling the terms of the subcontract

On October l l, 1999, the owners informed Plaintiff that they would hold Plaintiff responsible

for all costs associated with repairing the damage resulting from the October l()th implosion. On

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October 12, 1999, Plaintif`f notified Eagle, Lexington, First Specialty, lnvestors, and R_LI of the
owners’ claims and demanded that Eagle and each of the insurers indemnify Plaintif`f` for its damages
and losses arising from the accident. Plaintiff filed an action against the owners, claiming that design
problems caused delays and increased costs. The owners filed a counterclaim against Plaintiff,
alleging that the accident delayed the project by at least 170 days, increasing the costs of the project,
and resulting in over $l million in property damages and extensive clean up costs. Those claims are
being litigated in a separate case in this district (Clark Construction Group, Inc. v. City ofMemphis,
case number 04-2780).

On June 20, 2001, Plaintiff filed the instant complaint alleging claims against Eaglc and the
insurers, including lnvestors. On May 9, 2005, Defendant filed a motion for summary judgment, as
to its duty to indemnify Plaintiff.

II. LEGAL STANDARD

Summary judgment is proper “if`the pleadings, depositions, answers to interrogatories, and
admissions on file, together with the affidavits, if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to a judgment as a matter of` law.” Fed. R. Civ.
P. 56(c). In other words, summary judgment is appropriately granted “against a party who fails to
make a showing sufficient to establish the existence of an element essential to that party’s case, and
on which that party will bear the burden of proof at trial.” Celotex Com. v. Catrett, 477 U.S. 317,
322 (1986).

The party moving for summary j udgrnent may satisfy its initial burden of proving the absence
of a genuine issue of material fact by showing that there is a lack of evidence to support the

nonmoving party’s case. E. at 325. This may be accomplished by submitting affirmative evidence

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negating an essential element of the nonmoving party’s claim, or by attacking the opponent’s
evidence to show why it does not support a judgment for the nonmoving party. 10a Charles A.
Wright et al., Federal Practice and Procedure § 2727, at 35 (Zd ed. 1998).

Facts must be presented to the court for evaluation, Kalamazoo River Studv Groun v.
Rockwell lnt’l Com., 171 F.3d 1065, 1068 (6th Cir. 1999). The court may consider any material that

would be admissible or usable at tria]. 10a Charles A. Wright et al., F ederal Practice and Procedure

 

§ 2721, at 40 (2d ed. 1998). Although hearsay evidence may not be considered on a motion for
summary judgment, Jacklm y. Schering-Plough Healthcare Prods. Sales Coi_'p., 176 F.3d 921, 927
(6th Cir. 1999), evidentiary materials presented to avoid summary judgment otherwise need not be
in a form that would be admissible at trial. M, 477 U.S. at 324; Thaddeus-X v. Blatter, 175
F.3d 378, 400 (6th Cir. 1999).

In evaluating a motion for summary judgment, all the evidence and facts must be viewed in

a light most favorable to the nonmoving party. Matsushita Elec. lndus. Co. v. Zenith Radio Col_‘p.,
475 U.S. 574, 587 (1986); Wade v. Knoxville Utilities Bd., 259 F.3cl 452, 460 (6th Cir. 2001).

 

Justifiable inferences based on facts are also to be drawn in favor of the non~movant. Kalamazoo
M, 171 F.3d at 1068.

Once a properly supported motion for summary j udgment has been made, the “adverse party
may not rest upon the mere allegations or denials of [its] pleading, but . . . must set forth specific
facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e). A genuine issue for trial

exists if the evidence would permit a reasonable jury to return a verdict for the nonmoving party.

Anderson v. Liber_ty Lobby, an., 477 U.S. 242, 248 (1986). To avoid summary judgment, the

nonmoving party “must do more than simply show that there is some metaphysical doubt as to the

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material facts.” Matsushita, 475 U.S. at 586.
III. ANALYSIS

Defendant moves for summary judgment as to its duty to indemnify Plaintiff Defendant
argues that 1) the City’s counterclaim does not allege claims that trigger Defendant’s duty to
indemnify Plaintiff because the liquidated damages are based on breach of contract, not property
damage and, thus, are not covered under the policy, 2) Plaintiff’ s settlement with Engineered’s
insurers without the consent of Investors releases Defendant from its obligations under the policy,
and 3) Plaintiff has been fully compensated for all losses.

A. Policy Coverage

Defendant first contends that the allegations of the City do not trigger Investors’ duty to
indemnify Plaintiff. Defendant asserts that the City alleges breach of contract and material
misrepresentation, neither of which are covered under the policy. Defendant further maintains that
the City is not seeking to recover any implosion-related property damage from Plaintiff and that
Plaintiff has acknowledged that it has been fully compensated for any property damage associated
with the implosion.

Plaintiff argues that the liquidated damages sought by the City are a measure of the actual
damages associated with the property damage created by the implosion, which is covered under the
policy. Moreover, Plaintiff insists that the delay costs are a result ofthe property damage caused by
the implosion, not breach of contract.

While the policy specifies that it covers property damage caused by an “occurrence,”
Defendant contends that the City’s claims against Plaintiffare based on Plaintiff’ s breach of contract

and not on the property damage that resulted from the implosion. Defendant notes that the policy

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covers tort liability but not breach of contract.

The policy states that Investors agrees to pay damages that are “because of ’ property damage
As previously noted, Plaintiff asserts that the liquidated damages sought by the City are a measure
of the actual damages caused by the delay that resulted from the implosion, not a penalty for breach
of contract Thus, the damages would be “because of" the property damage and would be covered
under the policy.

Defendant contends that public policy should prohibit a finding that the policy covers the
liquidated damages being sought here However, “[t]he overriding public policy applicable in this
case is that ambiguities in insurance policies are to be construed against the drafter of the policy.”
St. Paul Fire and Marine Ins. Co. v. Torpoc , 879 S.W.Zd 831, 835 (Tenn. 1994). Investors created
a policy that included coverage for damages that are “becausc of” property damages, and did not
specifically exclude the damages being sought in this case Defendant had every opportunity to
exclude any type of conduct it wished to exclude from coverage under the policy. §e_e id
Defendant’s assertion now that liquidated damages are not covered under the policy, even though
they are a direct result of property damage that was clearly covered under the policy, is without merit
because there is no exclusionary clause in the policy for liquidated damages like the ones being
sought here S_ee igl_. Thus, the City’s claims against Clark may trigger coverage under the policy,
B. Settlement

Defendant contends that when Plaintiff reached a settlement agreement with First Specialty,
it breached its obligations under the cooperation clause of the policy. Plaintiff argues that Defendant
waived its right to assert a breach of the cooperation clause when it breached its duty to defend. In

its August 3, 2005 Order Granting Defendant Investors lnsurance Company of America’s Motion

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to Clarify, Arnend, or Reconsider (“August 3, 2005 Order”), the Court held that there arc a number
of questions of material fact that must be answered before it can be determined whether the
cooperation clause was breached or the effect that has on the obligations of the parties Therefore,
the cooperation clause of the policy cannot be the basis for granting summary judgment on the issue
of Defendant’s duty to indemnify Plaintiff`.
C. Outstanding Damages

Defendant next argues that Plaintiff has already received a sufficient amount from the
settlements that have been reached to reimburse it for all costs covered under the policy, Plaintiff
states that there are additional costs in delay damages that are the result of the implosion that the City
is alleging The Court has already determined that the City’s claims for liquidated damages may
trigger coverage under the policy,

Accordingly, as genuine questions of material fact remain, summary judgment would not be
appropriate
IV. CONCLUSION

For the foregoing reasons, Defendant’s motion for summary judgment as to Investor’s duty

to indemnify Plaintiff against the City is DENIED.

IT IS SO ORDERED this fg"u`day of August, 2005.

 

~ ITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 258 in
case 2:01-CV-02478 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

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